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                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

ART ASK AGENCY,                                           )
                                                          )   Case No. 23-cv-4981
                Plaintiff,                                )
                                                          )
                                                          )    Judge John F. Kness
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 5

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff ART ASK AGENCY
hereby dismisses with prejudice all causes of action in the complaint as to the Defendant identified below
and in Schedule A. No motions are pending relative to this Defendant. Each party shall bear its own
attorney’s fees and costs.


        No.     Defendant
        5       fiychee

        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                         Respectfully submitted,
Dated: November 17, 2023                 By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
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                                                  Attorneys for Plaintiff
                                                  ART ASK AGENCY
    Case: 1:23-cv-04981 Document #: 42 Filed: 11/17/23 Page 2 of 2 PageID #:2280




                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 17, 2023.



                                                           s/Michael A. Hierl
